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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


IN RE:                                                  Chapter 7
                                                        Case No. 20-10553 (CTG)
START MAN FURNITURE, LLC, et                            Jointly Administered
                al.1

TODD STEWART and JENNIFER                               Civil Action No. 22-cv-450 (CFC)
SAWLE, on behalf of themselves and
all others similarly situated,                          Bankruptcy Case No. 20-10553 (CTG)
                                                        Bankruptcy Adv. Pro. No. 20-50548
                                Appellants,             (CTG)
 v.                                                     Bankruptcy BAP No. 22-00030


ALFRED T. GIULIANO, chapter 7
trustee
for Debtors Start Man Furniture, LLC,
et al.,

                                Appellee.




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF
Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF
Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a
AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture
of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF
Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and
Comfort Mattress LLC (4463).



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ALFRED T. GIULIANO, chapter 7
trustee                                     Civil Action No. 22-cv-489 (CFC)
For Debtors Start Man Furniture, LLC,
et al.,                                     Bankruptcy Case No. 20-10553 (CTG)
                                            Bankruptcy Adv. Pro. No. 20-50548
                             Appellant,     (CTG) Bankruptcy BAP No. 22-00032

v.

TODD STEWART and JENNIFER
SAWLE, on behalf of themselves and
all others similarly situated,

                             Appellees.


          APPENDIX TO APPELLEE TRUSTEE’S ANSWERING BRIEF

                                          PACHULSKI STANG ZIEHL & JONES LLP
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                                          Beth E. Levine (admitted pro hac vice)
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                                                        Trustee




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Dated: July 25, 2022                      PACHULSKI STANG ZIEHL & JONES
                                          LLP

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